Case 1:21-cr-00582-CRC Document 79-10 Filed 04/19/22 Page 1 of 4




               Exhibit 10
Case 1:21-cr-00582-CRC Document 79-10 Filed 04/19/22 Page 2 of 4




                                                 ',.,        '.
                                                        ,·




          . ··.·G-iRIMiEtlN>··.· •.·
          ··.··•·•·•··•••·CJ.:ci:111~1:sC.::••··
                       ,   .......·




              INSIDE THE STEELE DOSSIER
                 AND THE FUSION GPS
                   INVESTIGATION OF
                     DONALD TRUMP




                  GLENN SIMPSON
                                      and
                   PETER FRITSCH




                               RANDOM HOUSE
                                      NEW YORK
Case 1:21-cr-00582-CRC Document 79-10 Filed 04/19/22 Page 3 of 4




                   Copyright© 2019 by Glenn Simpson and Peter Fritsch
                                    All rights reserved.
                     Published in the United States by Random House,
             an imprint and division of Penguin Random House LLC, New York.
                       RANDOM HousE and the HousE colophon are
                  registered trademarks of Penguin Random House LLC.
                            Hardback ISBN 978-0-593-13415-3
                             Ebook ISBN 978-0-593-13416-0
                 Printed in the United States of America on acid-free paper
                                 randomhousebooks.com
                                      246897531
                                      FIRST EDITION
Case 1:21-cr-00582-CRC Document 79-10 Filed 04/19/22 Page 4 of 4

                           284   I   A NOTE ON SOURCES


       court filings, documents released under the Freedom of Information
       Act, and official government and congressional transcripts.
          The nature of our engagement with the law firm Perkins Coie pre-
       vents us from recounting our communications after we were retained.
       We described one meeting with Marc Elias that occurred before we were
       hired. Perkins has not released us from our obligations to keep our com-
       munications confidential, nor have other clients.
           Under pressure from Republicans in Congress, some of our clients
       provided limited waivers to our confidentiality agreements so that vari-
       ous committees could question us and examine some of our records.
           We generally don't talk about our dealings with reporters because
       those discussions are conducted on a confidential basis by mutual agree-
       ment. We avoided disclosing the details of our dealings with individual
       reporters unless those interactions had already come to light in congres-
       sional investigations or other public accounts. In some cases, we recount
       discussions with journalists with their express permission. There are
       several instances, however, in which we believe news organizations and
       individual reporters voided their confidentiality agreements with us by
       publishing details of their off-the-record communications with Fusion.
           Finally, we relied on many outstanding books on Donald Trump and
       Russia under Vladimir Putin, which informed our understanding of
       these subjects and helped us make our own observations about the
       events of 2016 and beyond.
